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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA

      Plaintiff

           v.                                CRIMINAL NO. 04-076(JAG)


PEDRO CASTRO-VAZQUEZ
     Defendant



                                  ORDER

     The deadline for filing objections to the Magistrate-Judge’s

Report and Recommendation has elapsed.         Upon review of the record,

the Court adopts the Report and Recommendation.


     IT IS SO ORDERED.

     In San Juan, Puerto Rico, this 12th day of September, 2005.


                                          S/Jay A. Garcia-Gregory
                                          JAY A. GARCIA-GREGORY
                                          United States District Judge
